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                                   THE CITY OF NEW YORK
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                                                              June 28, 2022

BY ECF
Honorable Gabriel W. Gorenstein
United States Magistrate Judge
United States District Court
Southern District of New York
500 Pearl St.
New York, New York 10007
               Re: In Re: New York City Policing During Summer 2020 Demonstrations
                   20 Civ. 8924 (CMJ)(GWG)
                   This filing is related to all cases



Your Honor:
        I am a Senior Counsel in the Office of the Honorable Sylvia Hinds-Radix, Corporation
Counsel of the City of New York, writing on behalf of City defendants in the above-referenced
matter. City Defendants write pursuant to Your Honor’s Individual Practices, Rule 2.A., to
respectfully request a protective order pursuant to Rule 26(c) of the Federal Rule of Civil
Procedure), relieving City defendants from any obligation to respond to the improper, unduly
burdensome, and harassing Requests to Admit interposed by plaintiffs, plus the corresponding
interrogatory and document demand to each (collectively, “RFAs”). Moreover, City Defendants
respectfully request that the current deadline of July 1, 2022, be extended for two week for City
defendants to respond to any proper RFAs – that is, two weeks from July 1st or two weeks from
the Court’s ruling, whichever is later. This is City defendants ’ second request for an extension of
time. Plaintiffs object to City defendants’ request for a protective order and “plaintiffs would not
object to an extension of two weeks to respond to all the RFAs only if City defendants are not
filing for a protective order.”
Request for Protective Order
       By Order dated June 10, 2022 (Docket 598), Your Honor granted City defendants an
extension of time until July 1st to respond to plaintiffs’ RFAs reasoning that, “[f]irst there is the
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sheer number of requests – 286 of them, an unusually large number in the Court’s experience.
Second, the requests are extraordinarily detailed and will require significant investigation by the
City.” As City defendants have undertaken a closer review and analysis of this atypically
voluminous set of RFAs, it has become evident that a very large number of them also violate the
Federal Rules, and City defendants respectfully seek a protective order to not respond to the
myriad of improper RFAs. Although plaintiffs by email dated June 13, 2022 withdrew a paltry
number of RFAs – 15 to be precise – there remain 271 RFAs (plus a corresponding interrogatory
and documentary request that attaches to each).
       City defendants advised plaintiffs by email dated June 16, 2022 that the former intend ed
to seek a protective order, and requested a meet and confer. On June 17th , City defendants
emailed plaintiffs a lengthy list of RFAs which were improper both individually and collectively
with those RFAs divided into categories as City defendants found them problematic. The parties
met and conferred for 1.5 hours on June 23, 2022, but plaintiffs would not agree to withdraw any
RFAs beyond those 15 originally withdrawn, and hence the parties arrived at the present
impasse. For the reasons set forth herein, City defendants seek a protective order on most of the
RFAs served by plaintiffs. The RFAs, with the corresponding interrogatories and document
requests, are annexed hereto as Exhibit A.
        Requests for admission are governed by Fed. R. Civ. P. 36, and serve as a tool with the
particular purpose of expediting trial by removing uncontested issues. United States SEC v.
Collector’s Coffee, Inc., 537 F. Supp. 3d 497, 500-01 (S.D.N.Y. 2021). “The rule is not properly
speaking a discovery device, rather it is a procedure for obtaining admissions for the record of
facts already known by the seeker”. Dubin v. E.F. Hutton Grp. Inc., 125 F.R.D. 372, 375
(S.D.N.Y. 1989). In other words, RFAs are not a substitute for other discovery methods such as
document requests, interrogatories and depositions. Spectrum Dynamics Med. Ltd. v. GE, No.
18-CV-11386 (VSB) (KHP), 2021 U.S. Dist. LEXIS 35633, at *6 (S.D.N.Y. Feb. 25, 2021).
Quite clearly, Rule 36 is not to be used in an effort to harass the other side, or in the hope that a
party’s adversary will simply concede essential elements. Id. Each request for admissions must
be direct, simple and limited to singular relevant facts. United States v. Consol. Edison Co. of N.
Y., No. CV-88-0049 (RJD), 1988 U.S. Dist. LEXIS 14547, 1988 WL 138275, at *2 (E.D.N.Y.
Dec. 15, 1988) (quoting SEC v. Micro-Moisture Controls, 21 F.R.D. 164, 166 (S.D.N.Y. 1957)).
The requesting party bears the burden of setting forth its requests simply, directly, not vaguely or
ambiguously, and in such a manner that they can be answered with a simple admit or deny
without narratives. Id. See also, Coty Inc v. Cosmopolitan Cosmetics, Inc., 2020 U.S. Dist.
LEXIS 107009, at *8-9 (S.D.N.Y. June 18, 2020). Thus, a request for admissions should be
phrased so that “it can be admitted or denied without explanation” and “should not state half a
fact or half-truths which require the answering party to qualify responses.” Herrera v. Scully,
143 F.R.D. 545, 549-50 (S.D.N.Y. 1992).
        That said, Rule 36, by its express terms, embraces only requests for admissions of fact or
of the application of law to fact, not as a means to establish facts which are obviously in dispute
or to answer questions of law. Coach, Inc. v. Horizon Trading USA Inc., 908 F. Supp. 2d 426,
432 (S.D.N.Y. 2012) (quoting Williams v. Krieger, 61 F.R.D. 142, 144 (S.D.N.Y. 1973)). To
force City defendants to 'admit' legal conclusions would only frustrate the purposes for which
Rule 36 was drafted. Id. Further, the person called upon to make the admission should not be
required to go through the document and assume the responsibility of determining what are


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'relevant matters of fact' and then decide what admissions he should make. SEC v. Micro-
Moisture Controls, 21 F.R.D. 164, 166 (S.D.N.Y. 1957). Requests that require an answering
party to concede the meaning of certain provisions drawn out of context are likely to generate
confusion and will unjustly force the answering party to determine, at their peril, what
components of the document is material to their response. Richard v. Dignean, 332 F.R.D. 450,
463 (W.D.N.Y. 2019). Thus, where requests for admission are not designed to identify and
eliminate matters on which the parties agree, but seek information as to fundamental
disagreement at the heart of the lawsuit, or are unduly burdensome, a court may excuse a party
from responding to the requests. Republic of Turk v. Christie’s, Inc., 326 F.R.D. 394, 399
(S.D.N.Y. 2018).

        As this Court recognized in its Order dated June 10, 2022, “it is better for matters to be
decided on the merits rather than based on procedural failures” (Docket No. 598) – in other
words, an implicit recognition that plaintiffs’ RFAs, if deemed admitted, would indeed go to the
heart of the lawsuit.
        Here, plaintiffs’ RFAs cover a vast expanse of fundamental and vigorously disputed facts
that go to the heart of the issues in this lawsuit. Many of plaintiffs’ RFAs on their face violate
that key principle of Rule 36 as they seek admissions that require explanation or that rely on a
vigorously disputed fact. 1 These RFAs include many that ask City defendants to admit that an
officer’s alleged use of force resulted in injuries (e.g. RFA 76), and ones that seek admission
regarding vigorously disputed issues and would require explanation (e.g. RFA 24, “No protest
policing related litigation, settlement, verdict, notice of claim under the General Municipal Law,
or allegation between 2000 and May 27, 2020, had any effect on the City’s relevant policies,
practices, customs, or NYPD training”).
         Others seek admission about matters in these consolidated actions that plaintiffs have
settled (pertaining to Yates) but plaintiffs still insisted must be answered. 2 Plaintiffs further
improperly seek admission about facts relating to incidents being actively litigated in separate,
non-consolidated cases. 3 Some RFAs are improper because they seek an admission to
conclusions of law as they ask City defendants to admit that an officer’s actions violated a law or
policy. 4 See Coach, Inc, 908 F. Supp. 2d at 432.
       These only begin to highlight the multitude of improprieties, and do not even touch on
phraseology problems that an overwhelming number of plaintiffs’ RFAs suffer from, such as
vague and compound RFAs 5 . Many of the RFAs here are phrased in such a way that they cannot

1
  RFAs improperly seeking admission that cannot be answered without further explanation/ relies on a
highly disputed fact: RFA Nos.: 21, 22, 23, 24, 29, 34, 52, 54-55, 58, 71, 76-78, 86-87, 92, 94, 100, 104,
110, 112, 124-133, 161, 163-166, 167, 168, 174-176, 181, 183, 184, 188-190, 192, 194-195, 200-204,
207-217, 220-228, 233-238, 245, 246, 247, 253-256, 258, 260-262, 266-268, 274-276, 283, 284.
2
  RFAs improperly seeking admissions relating to Yates, which was settled, depriving defendants of
finality: RFA Nos. 150-158.
3
  RFAs improperly seeking admissions pertaining to facts about a plaintiff from a pending litigation in a
non-consolidated case: RFA Nos. 36-42, and 64-78,
4
  RFAs improperly seeking admissions that an officer violated a certain policy: RFAs 66 and 199
5 E.g. RFAs. 21, 22, 23, 24




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be answered without an explanation because they contain half facts or half-truths taken out of
context. For example, many RFAs ask City defendants to admit that the summons issued against
an individual during a protest was dismissed without the person being found guilty. 6 However,
an admission to that would be misleading as almost all of the protest related summonses were not
dismissed on the merits, but were summarily dismissed by the District Attorney’s Office.
         Many other RFAs improperly ask City defendants to go through large documents or
hours of video footage and assume the responsibility of determining what are 'relevant matters of
fact' to plaintiffs and then decide what admissions to make. 7 As two examples, RFA no. 19 seeks
an admission that Chief of Patrol Juanita Holmes purportedly stated “four hours of disorder
training is not enough” at some point in a February 2021 City Council hearing appearing to have
lasted nearly five hours, and RFA no. 69 seeks an admission about the cardinal direction that
NYPD officers were moving at a particular point in a half-hour long body worn camera video. At
the meet and confer, plaintiffs indicated that they are seeking these specific RFA responses so
that they do not need to actually present these documents at trial and can just use City
defendants’ RFA responses. However, obligating City defendants with sifting through such
records and having to admit or deny particular sentences and moments plucked out of context is
an improper use of Rule 36. Plaintiffs further contend that if City defendants believed these
statements or moments were taken out of context, that City defendants will get a chance to
present the document or video to the jury to show the context. However, this is counterintuitive
and frustrates the purpose of Rule 36.
        Some RFAs are further improper because they related to actions or statements of officers
already deposed or noticed to be deposed. 8 For the officers previously deposed, plaintiffs have
already had the opportunity to ask them questions and already have their testimony under oath.
Asking City defendants to admit to contested inferences that can be made from the deposition
testimony is more properly left to the purview of a jury during trial, not RFA responses in
discovery. Plaintiffs contend that the RFAs relating to officers not yet deposed were meant to
relieve the parties of the need to take those depositions. However, it is well established that Rule
36 is not meant to replace depositions, interrogatories, or document requests. See Spectrum
Dynamics Med. Ltd., 2021 U.S. Dist. LEXIS 35633, at *6. Plaintiffs further attempt to use Rule
36 as an improper discovery tool to obtain information relating to NYPD policy, trainings, and
disciplinary investigations, as well as communications between high level officials. 9



6
  E.g. RFAs 169 and 1
7
  RFAs improperly requiring defendants to go thorough documents and assume responsibility for making
admission related to its contents: RFA Nos.: 5, 6, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 37, 43, 45,
46, 49, 50, 51, 53, 66-70, 72, 141-144, 146, 147, 149 , 232 .
8
  RFAs used as improper tool of discovery, seeking information about officer noticed to be
deposed/already deposed: RFA Nos.: 56-57, 59-63, 73-75, 80, 81, 84, 89-90, 99, 102, 107-108, 123, 162,
170-172, 178-180, 185-187, 193, 196-198, 205, 218, 230-231, 242-244, 248-251, 259, 263, 265, 269-271,
278-282
9
  RFAs used as improper tool of discovery re policy / training: RFA Nos. 1, 240, 241; RFAs used as
improper tool of discovery re NYPD investigations re white supremacy RFA Nos. 25, 26, 27, 28, 30, 31,
32, 33; RFAs used as improper tool of discovery re meetings / communications related to high level
Continued…


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        More importantly, the majority of these RFAs are not designed to confirm information
and eliminate issues for trial. Rather, they are tantamount to contention interrogatories. Spectrum
Dynamics Med. Ltd., 2021 U.S. Dist. LEXIS 35633, at *7 (granting defendant’s motion for a
protective order and finding that the RFAs were improper contention interrogatories). Plaintiffs
are essentially attempting to circumvent Local Civil Rule 33.3 (c) which requires that contention
interrogatories be served at the conclusion of discovery. Additionally, plaintiffs’ RFAs attempt to
circumvent Rule 33, which imposes a limit on the number of interrogatories that may be served
because they are more burdensome than other discovery methods and subject to abuse. Id.
Indeed, plaintiffs have already served several hundred interrogatories – well above what is
allowed by Rule 33. And although Rule 36 does not impose numeric limitations on the requests,
"requests to admit may be so voluminous and so framed" that they are unduly burdensome,
nevertheless. Id. See also, Fed. R. Civ. P. 26 advisory committee notes to 1970 amendment.
       Significantly, the RFAs at issue are not only problematic individually, they are also
problematic collectively. The 271 requests for admission -- with an interrogatory and document
request that attaches to each of them -- have a detrimental cumulative impact. Although the large
number of RFAs is not itself a basis for a protective order, the question of whether to limit the
number of RFAs lies in the discretion of the court and depends on the needs of the case. See SEC
v. Rayat, No. 21-cv-4777 (LJL), 2022 U.S. Dist. LEXIS 90834, at *3-4 (S.D.N.Y. May 19,
2022).
        As Your Honor stated in the Order dated June 10, 2022 (Docket 598), “the requests are
extraordinarily detailed and will require significant investigation by the City”. In other words,
more than just a reasonable search – rather, a significant investigation – would be required. But,
Rule 36 does not require a “significant investigation,” as it is not meant to be the type of
discovery tool as interrogatories. Rule 36 only requires a reasonable investigation as the RFAs
should relate to facts not in dispute. Not surprisingly, responding to plaintiffs’ RFAs is a gigantic
undertaking, and a reasonable investigation will not suffice. As such, responding to hundreds of
improper requests (and interrogatories and document demands) is unduly burdensome, and quite
simply amounts to harassment. City defendants request that the Court exercise its discretion in
limiting the majority of these improper requests and grant City defendants’ protective order as to
the RFAs listed in footnotes 1 though 8 herein.
        Relatedly, and in any event, City defendants ought to be relieved from responding to
plaintiffs’ interrogatories insofar as they are connected to nearly 300 RFAs, which in actuality,
means that the interrogatory constitutes 271 separate interrogatories, seeking the identification of
any witnesses with knowledge in connection to any RFA response that is not an unqualified
admission, thereby, far exceeding the limit of 25 interrogatories set out by Fed. R. Civ. P. 33 and
plaintiffs have already exponentially exceeded this number with their previously served
interrogatories. See Fox v. Poole, No. 06CV148 (CONSENT), 2007 U.S. Dist. LEXIS 64779, at
*27 (W.D.N.Y. Aug. 31, 2007)(quoting Dang v. Cross, No. CV 00 13001 GAF(RZX), 2002 U.S.
Dist. LEXIS 5878, 2002 WL 432197 (C.D. Cal. 2002)("Rule 33 does not prohibit interrogatories
which reference requests for admissions; however, 'an interrogatory that asks the responding

officials: RFA Nos. 3, 4, 7, 136, 137, 138; and RFAs used as improper tool of discovery re SRG/Mott
Haven: RFA Nos. 2, 114-122, 134-139, 219.



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party to state facts, identify witnesses, or identify documents supporting the denial of each
request for admission contained in a set of requests for admissions usually should be construed
as containing a subpart for each request for admission contained in the set."); See also, Safeco of
America v. Rawstron, 181 F.R.D. 441, 445, 446 (C.D. Cal. 1998); accord Wildearth Guardians v.
Public Serv. Co., Civ. No. 09-1862-ZLW-MEH, 2010 U.S. Dist. LEXIS 138972, 2010 WL
5464313, at **3-4 (D. Colo. Dec. 29, 2010); FDIC v. Halpern, 271 F.R.D. 191, 199 (D. Nev.
2010); Bourdganis v. N. Trust Bank, Civ. No. 08-11282, 2008 U.S. Dist. LEXIS 82089, 2008
WL 4615653, at *2 & n.2 (E.D. Mich. Oct. 16, 2008).
        In light of the above-referenced improprieties and undue burden, defendants respectfully
request that the Court grant a protective order pursuant to Rule 26(c) relieving them of the
obligation to respond to the RFAs cited supra.
Request for Extension of Time
        Additionally, Your Honor stated in the June 10th Order “…any request for an extension of
time would obviously have been granted given the number of requests alone” (Docket No. 598).
City defendants intend on responding to those RFAs not cited herein which City defendants have
deemed proper under Rule 36. However, City defendants respectfully request that the July 1st
deadline to respond to plaintiffs’ RFAs be held in abeyance pending the Court’s decision in order
to conserve resources rather than dedicate them toward significant investigations into, and
preparation of, RFAs that City defendants may be relieved from answering if deemed improper.
City defendants similarly request a two-week extension to respond to any proper RFAs – that is,
the later of two weeks from July 1st or two weeks from the Court’s ruling on the present motion.
Conclusion
       Accordingly, City defendants respectfully request a protective order pursuant to Rule
26(c) of the Federal Rule of Civil Procedure, relieving City defendants from any obligation to
respond to the improper, unduly burdensome, and harassing requests for admission plus the
corresponding interrogatories and document demands (collectively, “RFAs”). In addition, City
defendants respectfully request that the current deadline of July 1, 2022, be extended for two
week for City defendants to respond to any proper RFAs – that is, two weeks from July 1st or two
weeks from the Court’s ruling, whichever is later.
       Thank you for your time and consideration.

                                                            Respectfully submitted,


                                                            Nadine Ibrahim             /s
                                                            Nadine Ibrahim
                                                            Special Federal Litigation Division
cc:    ALL COUNSEL (via ECF)




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